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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 MICHAEL J. LINDELL and
 MYPILLOW, INC.,
                                                  Case No. 22-cv-2290-ECT-ECW
                      Plaintiffs,

 v.

 UNITED STATES OF AMERICA,
 MERRICK GARLAND in his official
 capacity as Attorney General of the              NOTICE OF MOTION HEARING
 United States, the United States Attorney
 for the District of Minnesota, and
 CHRISTOPHER WRAY in his official
 capacity as Director of the Federal Bureau
 of Investigation,

                      Defendants.


To:    Defendants United States of America, Merrick Garland, United States Attorney for
       the District of Minnesota, and Christopher Wray.


       PLEASE TAKE NOTICE that at a date and time to be determined, pursuant to

Fed. R. Civ. P. 65 and Fed. R. Crim. P. 41(g), Plaintiffs will move the Court, before the

Honorable Eric C. Tostrud, United States District Court Judge, in Courtroom 3B, United

States District Courthouse, 316 N. Robert Street, St. Paul, MN 55101, for a Temporary

Restraining Order and an Order to Return Property that Defendants (1) return to Mr.

Lindell the cell phone seized from Mr. Lindell on September 13, 2022; (2) cease all

attempts to access data stored on the cell phone; and (3) refrain from accessing any

information already taken from the cell phone. Plaintiffs request that this Motion be


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handled by the Court on an expedited basis. Plaintiffs further request that the Court

immediately order Defendants to refrain from accessing or taking any action with respect

to the seized cell phone until this Motion is heard, to preserve the status quo. This motion

is based on all of the files, records, pleadings, declarations, exhibits, arguments of

counsel, and proceedings herein.



Dated: September 22, 20222                 PARKER DANIELS KIBORT LLC

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                                           Inc.

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                                           By /s/ Kurt Olsen
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                                           Counsel for Michael J. Lindell




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